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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

HORACE SAVOY, AND WIFE,                        §
TIFFANY SAVOY                                  §
                                               §
VS.                                            §   CIVIL ACTION NO. _______________
                                               §
MINSTAR TRANSPORT, INC.,                       §
RICHARD MCGOWLAN,                              §
KUBOTA TRACTOR                                 §
CORPORATION AND MARUBENI                       §
TRANSPORT SERVICES CORP.                       §              JURY TRIAL REQUESTED


      DEFENDANTS MINSTAR TRANSPORT, INC.’S and RICHARD McGOWLAN’S
               INDEX OF DOCUMENTS FILED WITH REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Pursuant to 28 U.S.C. §§1446(a), 1447(b) and Local Rule 81, MINSTAR TRANSPORT,

INC. and RICHARD McGOWLAN Defendants in the above-entitled and numbered cause, files

the following documents with the removed action:

        1.    Jefferson County Docket Sheet;

        2.    Plaintiff’s Original Petition;

        3.    Citation issued upon Minstar Transport, Inc.;

        4.    Index of Documents Filed with Removal;

        5.    List of Parties, Attorneys and Court from Which Case is Being Removed;
              and

        6.    Civil Cover Sheet.
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                                           Respectfully submitted,

                                           RAMEY, CHANDLER, QUINN & ZITO, P.C.


                                           /s/ Robert L. Ramey
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                                           MINSTAR TRANSPORT, INC.
                                           AND RICHARD MCGOWLAN



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was sent to all opposing
counsel via facsimile and/or email on the 31st day of March, 2017.

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                                           /s/ Robert L. Ramey
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